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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                OCALA DIVISION

JEFFREY KOENIG,

       Plaintiff,

v.                                                         Case No: 5:18-cv-378-Oc-30PRL

RSL, INC., PRESTON GIRARD and
YADIRA MIRABAL,

       Defendants.


                                 ORDER OF DISMISSAL

       Before the Court is the Notice of Voluntary Dismissal (Dkt. 5). Upon review and

consideration, it is

       ORDERED AND ADJUDGED as follows:

       1.      This cause is dismissed with prejudice and without costs to either party.

       2.      All pending motions, if any, are denied as moot.

       3.      The Clerk is directed to close this case.

       DONE and ORDERED in Tampa, Florida, this 11th day of September, 2018.




Copies furnished to:
Counsel/Parties of Record
